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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CATHY A. HARRIS, in her personal capacity :
and in her official capacity as Member of the :
Merit Systems Protection Board,               :
                                              :
       Plaintiff,                             :            Civil Action No.:       25-412 (RC)
                                              :
       v.                                     :            Re Document No.:        42
                                              :
SCOTT BESSENT, in his official capacity as :
Secretary of the Treasury, et al.,            :
                                              :
       Defendants.                            :

                                              ORDER

              DENYING DEFENDANTS’ MOTION TO STAY ORDER PENDING APPEAL

       On March 4, 2025, this Court granted summary judgment to Plaintiff Cathy A. Harris

after concluding that President Donald J. Trump had unlawfully attempted to remove her from

her position as a member of the Merit Systems Protection Board. See Order Granting Plaintiff’s

Motion for Summary Judgment, ECF No. 39. In its accompanying memorandum opinion, the

Court reasoned that this action violated a federal statute, and that the statute is constitutional

under Humphrey’s Executor v. United States, 295 U.S. 602 (1935). See generally Memorandum

Opinion Granting Plaintiff’s Motion for Summary Judgment, ECF No. 40. The Court

additionally granted declaratory judgment and a permanent injunction. See id. Defendants now

move to stay the order pending appeal. See Defs.’ Mot. to Stay Order Pending Appeal, ECF No.

42.

       “[T]he factors regulating the issuance of a stay” include “(1) whether the stay applicant

has made a strong showing that he is likely to succeed on the merits; (2) whether the applicant

will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure
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the other parties interested in the proceeding; and (4) where the public interest lies.” Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). As the Court discussed in its memorandum opinion, it is

blackletter law that Congress may enact for-cause removal protections for members of a

traditional independent agency headed by a multimember board or commission. See Mem. Op.

at 7–16. Defendants thus establish no likelihood of success on the merits. Defendants do not

establish any irreparable harm to the Government, particularly given that Defendants trace this

harm to the inability to deploy a removal power the President does not have. See id. at 31–32.

Defendants furthermore do not argue that Harris has been ineffective in her position or has

otherwise impeded the business of the MSPB. See id. To the contrary, staying the Court’s order

will injure Harris in her personal capacity and her official capacity as a member of the MSPB,

and the Court has already found this harm to be irreparable. See id. at 28–30. Staying the

Court’s order is not in the public interest, particularly given that the Court simply orders

Defendants to comply with clear and controlling federal law. The Court thus finds a stay

unwarranted.

       For the foregoing reasons, it is hereby ORDERED that Defendants’ Motion to Stay

Order Pending Appeal (ECF No. 42) is DENIED.

       SO ORDERED.


Dated: March 5, 2025                                                RUDOLPH CONTRERAS
                                                                    United States District Judge




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